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                 IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF ARKANSAS
                         HOT SPRINGS DIVISION

UNITED STATES OF AMERICA                                            PLAINTIFF

      v.                      NO. 6:09cr60006-RTD-2

DUSTIN I. NIX                                                       DEFENDANT

                           SENTENCING MEMORANDUM

       On November 6, 2009, this Court held a sentencing hearing in

the above-captioned matter.        Specially addressed was whether the

two-level vulnerable victim enhancement at U.S.S.G. § 3A1.1(b)(1)

applies in this case.       For reasons that follow, the Court holds

that § 3A1.1(b)(1) should be applied to properly compute the

guideline    range   for   Defendant’s    sentence,     and   as   a   result,

Defendant’s offense level must be increased by two levels.

I.    Standard

      In determining the vulnerability of a victim, the court must

find that the defendant knew or should have known that the victim

of his or her crime was “unusually vulnerable due to age, physical

or mental condition, or . . . otherwise particularly susceptible to

the criminal conduct.”       U.S.S.G. § 3A1.1(b)(1) & n.2.          The court

cannot make a blanket assumption about the applicability of the

enhancement based strictly on a particular characteristic of the

victim.    United States v. Anderson, 440 F.3d 1013, 1018 (8th Cir.

2006) (holding U.S.S.G. § 3A1.1(b)(1) did not automatically apply

based on advanced age of victim).           Rather, the Government must

demonstrate the predicate facts supporting the enhancement by a
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preponderance of the evidence.          United States v. Myers, 481 F.3d

1107, 1110 (8th Cir. 2007). In sum, application of the enhancement

requires a fact-based explanation of how the characteristic in

question made the victim “unusually vulnerable,” and why the

defendant knew or should have known of this vulnerability.               United

States v. Vega-Iturrino, 565 F.3d 430, 434 (8th Cir. 2009).

II.   Factual Findings

      Based    on   the   information   before   it,     the   Court   finds as

follows:

      1. The victims in this case are LS and her three minor

children.      LS is a white female and each of her children was

fathered by an African American male.

      2. In early June 2008, LS and her minor children moved from

Arkadelphia, Arkansas to the nearby town of Donaldson. The racial

composition of Donaldson is almost exclusively Caucasian.

      3.      In June 2008, LS’s minor children were ages five years,

nineteen months, and four months.

      4.      On June 15, 2008, Defendant and others discussed that

they did not want the victims living in Donaldson because they

associated with “niggers.”

      5.      To threaten and intimidate LS and her children, Defendant

and others participated in the construction of a wooden cross.

      6.      On June 21, 2009, Defendant and others drove with the

cross to the victims’ home, erected it in the victims’ yard, and


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attempted to ignite it.

       6.   LS and her minor children were home during this incident.

III.    Analysis

       To determine whether U.S.S.G. § 3A1.1(b)(1) should be applied

in this case, the Court must first find that the victims of

Defendant’s crimes were “unusually vulnerable” or “particularly

susceptible to the criminal conduct.”                Vega-Iturrino, 565 F.3d at

434.    In this regard, the Court finds that at the time of the

crimes, LS’s children were ages five years, nineteen months, and

four months.     The crimes took place at the home of these victims,

and based on their ages, the minor victims completely lacked the

capacity to either prevent or defend against the violation of their

rights by Defendant.          United States v. Pospisil, 186 F.3d 1023,

1030 (8th Cir. 1999) (affirming application of § 3A1.1(b)(1) in

cross burning case where victims–a mother and her children–were new

in town and children were young in age).                 Further, based on the

presence of her three young children at her home at the time of the

offense conduct, LS had little ability to either prevent or defend

against the violation of her civil rights.                   Defendant’s conduct

basically    forced      LS   to   choose    between     being    the   victim    of

Defendant’s conduct or potentially placing her children at risk by

attempting to resist.         United States v. Plenty, 335 F.3d 732, 735

(8th Cir. 2003) (affirming application of § 3A1.1(b)(1) where

victim was asleep at time of assault, could not contact law


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enforcement, and could not flee or move her children away from the

crime).    Finally, at the time of the offense conduct, LS and her

children had been residents of the small town of Donaldson for only

a few weeks.    Based on this fact, they were vulnerable due to their

lack of a connection to the community.             In other words, the victims

lacked the sort of support network that could have served to

mitigate the effects of Defendant’s conduct and thereby render them

less vulnerable.         Pospisil, 186 F.3d at 1030.             Thus, LS and her

children    were     both    “unusually    vulnerable”       and    “particularly

susceptible to the criminal conduct.”              U.S.S.G. § 3A1.1(b)(1).

       The Court must now determine whether Defendant knew or should

have   known    of   the     vulnerability    of    LS     and   her   children.

Vega-Iturrino, 565 F.3d at 434.           The facts before the Court show

that the catalyst for Defendant’s conduct was the relocation of LS

and her three young children from Arkadelphia to Donaldson.

Particularly, Defendant did not want these individuals to reside in

his predominately white town because they associated with African

Americans.     Based on these facts, Defendant necessarily knew about

LS’s children and either knew or should have known of their young

ages. Further, Defendant necessarily knew LS and her children were

new residents of Donaldson.           Thus, Defendant knew or should have

known of the vulnerability of LS and her young children.




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IV.   Conclusion

      Children    have     an   absolute    right    not    to   be       intimidated,

coerced, threatened, or scared because of their race or the race of

their parents.      The Court acknowledges that Defendant may have

intended to create fear only on the part of LS.                       However, the

effects of Defendant’s conduct may last the lifetime of each of his

victims, even if some of those victims come to know of and fully

understand Defendant’s conduct in later years.

      The Court holds that § 3A1.1(b)(1) should be applied when

computing Defendant’s offense level.                 As a result, his total

offense level is fourteen (14).

      On October     27,    2009,   the    Government       filed     a    Motion   for

Downward Departure Pursuant to 18 U.S.C. § 3553(e) and U.S.S.G. §

5K1.1.    (Doc. 83).       The Court finds that the Defendant provided

truthful, complete, and reliable information about the involvement

of his Co-Defendants in this case.              Defendant’s cooperation and

agreement to testify for the Government ultimately led to the

guilty pleas entered by each of his Co-Defendants.                  Therefore, the

Government’s motion is GRANTED.

      The Government asks that Defendant be sentenced under the

Federal Sentencing Guidelines at the highest level of Zone C.

Based on Defendant’s criminal history category of II, Defendant’s

total offense level after the Government’s motion is eleven (11).

The sentencing guidelines recommend a term of imprisonment for 10-


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16 months, a fine in the range of $2,000-$20,000, a term of

supervised    release    for    2-3    years,       and   a    mandatory     special

assessment of $100 per count.           Based on this recommendation and

upon consideration       of    the sentencing        factors     at   18   U.S.C. §

3553(a), the Court hereby sentences Defendant to one (1) year and

one (1) day in prison, a three (3) year term of supervised release,

a fine of $5,000, and a special assessment of $200.

     IT IS SO ORDERED this 6th day of November 2009.

                                           /s/ Robert T. Dawson
                                           Honorable Robert T. Dawson
                                           United States District Judge




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